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              IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                        NEWNAN DIVISION
  JENNIE ALSTON-WARNER,

       Plaintiff,                             Civil Action
                                              File No.:

  v.

  FAMILY DOLLAR STORES OF
  GEORGIA, LLC,

       Defendant.

                             PETITION FOR REMOVAL

       TO: The Honorable Judges of the United States District Court for the Northern

District of Georgia, Newnan Division:

       COMES NOW Family Dollar Stores of Georgia, LLC by and through its

undersigned counsel, and it hereby files this Petition for Removal and respectfully

shows this Court the following:

       1.      A civil action has been filed and is now pending in the State Court of

Coweta County State of Georgia, designated as Civil Action Number 21-V-0199E.

       2.      Ms. Alston-Warner filed her Summons and Complaint on April 21,

2021. Family Dollar acknowledged service on May 11, 2021, and accordingly timely

files this Petition for Removal.
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      3.      Defendant files herewith a copy of all process, pleadings, and orders

including, the Summons and Complaint served upon Defendant in this action

pursuant to 28 USC § 1446. (Attached hereto as Exhibit “A”).

      4.      Defendant Family Dollar is now, was at the commencement of this suit,

and at all times since been a foreign limited liability organized and existing under the

laws of the State of Virginia with its principal place of business located at 500 Volvo

Parkway, Chesapeake, Virginia, 23320. Defendant Family Dollar has one member,

which is Family Dollar Stores, Inc., an entity organized under the laws of Delaware

and having its principal place of business in Virginia.

      5.      Plaintiff is a citizen of Georgia. Therefore, the action described above is

a civil action with a claim of which this Court has original jurisdiction, and it is one

that may be removed to this Court by Defendant pursuant to the provisions of 28 U.

S. C. §§ 1332, 1367, and 1441 et seq., in that there is complete diversity among the

parties and the Defendant is not a resident of the State of Georgia, the Parties are not

residents of the same state, and the amount in controversy exceeds $75,000.00

exclusive of interest and costs.

      6.      In Plaintiff’s Complaint, she claims she went to Family Dollar and she

tripped and fell on boxes that were allegedly left on the floor. She claims she did not

see the box prior to her fall. (See Complaint, ¶¶ 10, 18). She asserts a claim of

premises liability. (See Complaint, ¶¶ 9, 10).



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       7.      As a result of the fall, Plaintiff claims she was injured, and she is

seeking recovery of past and future medical expenses in addition to physical and

mental pain and suffering damages. (See Complaint, ¶¶ 22, 23). Plaintiff’s complaint

is silent on the total amount of her damages; however, she sent a pre-suit demand

outlining her incurred medical expenses, future treatment, and her alleged injuries.

(See Pre-suit Demand and Medical Estimates attached as Exhibit “D”).

       Specifically, Ms. Alston-Warner is claiming that as a result of the fall, she

suffered headaches along with injuries to her neck, mid-back, and lower back.

(Exhibit C, p. 2). Ms. Alston-Warner’s orthopedic records recommend a surgical

consult for her lower back injuries. Additionally, Ms. Alston-Warner is claiming that

she suffered injuries to her mouth requiring an surgical removal of an erupted tooth,

bone graft, and guided tissue regeneration. (Exhibit C, p. 3). Ms. Alston-Warner has

also alleged that she will also require additional dental care totaling at least

$21,000.0. (Exhibit D).

       Ms. Alston-Warner has alleged, $14,474.20 in incurred medical expenses plus

$14,125.00 in prosthodontic estimates, and $21,000.00 in future dental care from

Clear Choice Dental totaling $49,599.20. She is still undergoing treatment for her

dental injuries. Ms. Alston-Warner has also alleged in her pre-suit demand that as a

result of the fall, she had to close her business, a beauty salon where she was a

hairstylist.



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       In Harris v. Bloomin’ Brands, Inc., 1:18:-cv-05078-ELR (N.D. Ga. 2019),

Judge Ross found that the amount in controversy exceeded the $75,000 jurisdictional

minimum even though the plaintiff only alleged $10,985.75 in incurred medical

expenses. There the plaintiff alleged she sustained serious injuries to her spine, back,

neck, and left knee, and that she will require future medical treatments including

injections and that she suffers a reduced earning capacity and permanent impairment.

       Another recent case is the case of Johnson v. Blackburn, 2:16-CV-989-KOB,

2016 WL 5816114, at *2 (N.D. Ala. Oct. 5, 2016). There the plaintiff alleged he

suffered severe injuries to his head, neck, and back. Based on the plaintiff’s

allegations, the District Court in Johnson found that using judicial experience and

common sense, it could infer that the complaint meets federal jurisdictional

requirements. Id.

       Here, Plaintiff’s claims for injury requiring surgery and damages for lost

wages are similar to the recent cases, and it is clear that the jurisdictional minimum is

met.

       8.      Defendant is not a citizen of the State in which the State Court action is

brought.

       9.      The aforementioned Georgia State Court action is a civil action of

which this Court has original jurisdiction under the provisions of Title 28 of the

United States Code §1332(a) and accordingly, is one which may be removed to this



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Court by Defendant pursuant to the provisions of Title 28 of the United States Code

§1441, in that it is a civil action in which the matter in controversy exceeds the sum

of $75,000.00 exclusive of interests and costs and is between citizens of different

states.

          10.   Defendant attaches a copy of Defendant’s Notice of Removal that will

be filed in the State Court of Coweta County, Georgia marked as Exhibit “B.”

          11.   Defendant attaches a copy of the answer it filed in State Court, which

are attached hereto as Exhibit “C”.

          This 11th day of May, 2021.

                                   Goodman McGuffey LLP
                                   Attorneys for Family Dollar Stores of Georgia,
                                   LLC


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       Defendant.

                            CERTIFICATE OF SERVICE

       This is to certify that I electronically filed this Petition for Removal with the

Clerk of Court using the CM/ECF system which will automatically send e-mail

notification of such filing to the following attorneys of record:

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       This 11th day of May, 2021.




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